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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

        TAIHO PHARMACEUTICAL CO., LTD. )
        and TAIHO ONCOLOGY, INC.,       )
                                        )
                      Plaintiffs,       )
                                        )
             v.                         ) C.A. No. 19-2309-CFC
                                        )
        EUGIA PHARMA SPECIALITIES LTD., )
        AUROBINDO PHARMA LTD., and )
        AUROBINDO PHARMA U.S.A., INC., )
                                        )
                      Defendants.       )
                                        )
        TAIHO PHARMACEUTICAL CO., LTD. )
        and TAIHO ONCOLOGY, INC.,       )
                                        )
                      Plaintiffs,       )
                                        )
             v.                         ) C.A. No. 19-2321-CFC
                                        )
        ACCORD HEALTHCARE INC.,         )
                                        )
                      Defendant.        )
                                        )
        TAIHO PHARMACEUTICAL CO., LTD. )
        and TAIHO ONCOLOGY, INC.,       )
                                        )
                      Plaintiffs,       )
                                        )
             v.                         ) C.A. No. 19-2342-CFC
                                        )
        MSN LABORATORIES PRIVATE LTD. )
        and MSN PHARMACEUTICALS INC., )
                                        )
                      Defendants.       )
                                        )



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        TAIHO PHARMACEUTICAL CO., LTD. )
        and TAIHO ONCOLOGY, INC.,      )
                                       )
                      Plaintiffs,      )
                                       )
             v.                        ) C.A. No. 19-2368-CFC
                                       )
        NATCO PHARMA LTD. and NATCO )
        PHARMA, INC.,                  )
                                       )
                      Defendants.      )
                                       )


                       PLAINTIFFS’ ANSWERING POST-TRIAL BRIEF


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         Dated: May 4, 2023




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                                TABLE OF ABBREVIATIONS



                 Abbreviation                         Definition
                  ’284 patent                U.S. Patent No. RE46,284
                  ’783 patent                U.S. Patent No. 7,799,783
                  ’535 patent                U.S. Patent No. 6,294,535
                    D.I. 122           Defendants’ Opening Post Trial Brief
                     JSUF           Joint Statement of Uncontested Facts in the
                                          Final Pretrial Order (D.I. 146-1)
                    FTD                              trifluridine
                    TPI                        tipiracil hydrochloride
                    DCR                         Disease Control Rate
                    NDA            New Drug Application, e.g., NDA No. 207981
                                                  for LONSURF®
                    POSA                Person of Ordinary Skill in the Art
                     Hoff            Interim results from 9801 Clinical Study
                   Dwivedy           Interim results from 9802 Clinical Study
                   Thomas            Interim results from 9803 Clinical Study
                   Emura-II          An Optimal Dosing Schedule for a Novel
                                   Combination Antimetabolite, TAS-102, Based
                                      on its Intracellular Metabolism and its
                                     Incorporation Into DNA by Emura, et al.
                    NEJM                 New England Journal of Medicine
                    ESMO              European Society of Medical Oncology
                    PPFF               Plaintiffs’ Proposed Findings of Fact




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        I.       INTRODUCTION

                 Plaintiffs Taiho Pharmaceutical Co. Ltd. and Taiho Oncology, Inc. (“Taiho”)

        invented a groundbreaking cancer treatment using trifluorothymidine (FTD), a

        compound that prior artisans had all but abandoned for its lack of clinical utility. The

        industry remained skeptical until Taiho took up the mantle—Taiho, notably, is the

        only source of prior art that Defendants rely on.

                 The twice-daily divided dosing regimen claimed in the ’284 patent is not

        present in the prior art—a fact not disputed by Defendants. Instead, Defendants

        assert that the claimed dosing regimen was obvious to try. But Defendants fail to

        prove such obviousness by clear and convincing evidence given that the prior art

        taught away from the claimed method. As demonstrated at trial, the prior art focused

        on three divided portions per day and suggested that an even larger number of

        divided doses was preferred in view of FTD’s unique mechanism of action. Thus,

        persons of ordinary skill in the art would not have expected success in going the

        opposite direction from the teachings of the prior art. In fact, neither did Taiho when

        Mr. Akira Mita (an inventor of the ’284 Patent) initially suggested twice daily

        divided dosing. Tr. 268:19-269:4 (“They couldn’t believe it . . . They thought that

        based on the research papers and their experience up to that point in time, that three

        times daily or four times daily or even more frequent[] daily [dosing] would be more

        effective.”).

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                 The evidence presented at trial demonstrates that the dosing regimen of claim

        13 of the ’284 patent is a valid and nonobvious invention. Claim 13 recites a method

        of treating colorectal cancer orally with a combination of α,α,α-trifluorothymidine

        (FTD)       and    5-chloro-6-(1-(2-iminopyrrolidinyl)methyl)uracil     hydrochloride

        (tipiracil hydrochloride, or TPI) in a molar ratio of 1:0.5—also known as TAS-1021

        or LONSURF®. JTX-0001.0009, 9:20-34. Claim 13 is a complex dosing regimen

        that requires that the drug be administered “at a dose of 50 to 70 mg/m2/day . . . in 2

        divided portions per day.”2 JTX-0001.0009, 9:25-26. In other words, the patient

        receives 2 portions per day, and the 2 portions together add up to the required 50 to

        70 mg/m2 daily dose. Claim 13 also requires that the patient receive the 2 divided

        portions per day “for 5 days followed by 2 days off treatment in the week on a one-

        week dosing schedule.” JTX-0001.0009, 9:30-32.

                 Understanding the complexity of the dosing regimen and schedule of claim

        13 is key. One component of TAS-102, FTD, is a powerful anticancer agent with




        1
         TAS-102 is the name that Taiho gave for the project that resulted in the FTD/TPI
        drug approved as LONSURF®.
        2
         The claimed divided dosing regimen differs from a regimen where multiple doses
        are provided. A divided dosing regimen starts with a capped total amount of a drug,
        and divided that total into a subset of doses. A multi-dose regimen sets a specific
        amount of drug on a per dose basis (without a capped total of drug to be
        administered) rather than a preset total dose that is sub-divided; it then prescribes a
        number of times that the dose is to be administered.
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        demonstrated dose-limiting toxicity. Tr., 369:11-370:19 (Goldberg); DTX-333.2.

        FTD’s anticancer activity is amplified by its incorporation into the DNA of the target

        tumor cells. DTX-11.1. For FTD to be effective, the tumor cells must be exposed to

        the drug for an extended period of time. DTX-11.1 However, each dose the patient

        receives must be low enough to avoid significant adverse effects. TAS-102 can

        therefore produce its intended anticancer effect only if the patient receives the

        appropriate total daily dose, and that total daily dose is divided into the appropriate

        number of portions, and that daily dose is administered on the proper schedule.

        Choosing whether and how to safely and effectively divide the daily dose of TAS-

        102 and the schedule on which it should be administered was not “simple” nor well

        understood at the time the application that led to the ’284 patent was filed.

                 With that understanding of the ’284 patent in mind, a proper assessment of

        each Graham3 factor, in light of the evidence adduced at trial, shows that Defendants

        have failed to carry their burden of clear and convincing evidence.

                 Beginning with the first Graham factor, Defendants seemingly fail to apply

        the correct POSA standard by offering testimony about a hindsight-driven

        “hypothetical investigator.” Of course the Court must apply and rely on the statutory




        3
            Graham v. John Deere Co., 383 U.S. 1, 17-18 (1966).

                                                  3
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        standard (POSA), who is not an “investigator,” and who has none of the hindsight

        predilections that Defendants attempt to inject into this analysis.

                 Under the second Graham factor, the parties agree that the scope and content

        of the prior art does not disclose all limitations of claim 13. Specifically, the twice

        daily divided dose limitation is undisputedly not disclosed in the prior art.

                 Under the third Graham factor, Defendants have not met their burden because

        there are significant differences between the claimed dosing regimen and the prior

        art relied on by Defendants. To overcome that deficiency, Defendants levy an

        “obvious to try” theory by suggesting that an “investigator” would have at least tried

        the twice daily divided dose limitation. Defendants are wrong for multiple reasons.

                 First, a POSA would understand that this science—and the administration of

        FTD, specifically—is a deeply unpredictable area in a deeply unpredictable art.

        Defendants’ argument to the contrary, asserting that the claimed dosing regimen and

        schedule is “simple,” is belied by the evidence at trial. FTD had long been

        recognized as a potent anticancer agent, but its short half-life (about 12 minutes),

        prevented any practical therapeutic application of FTD alone. DTX-11.1; Tr.,

        369:11-370:19 (Goldberg). Taiho attempted to address this shortcoming by

        combining FTD with TPI, a thymidine phosphorylase inhibitor, which slows the

        degradation of FTD and allows it to have a greater therapeutic effect. JTX-

        0001.0005, 2:16-21; Tr., 348:13-18 (Goldberg). The resulting combination (TAS-

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        102), was promising but still resulted in adverse events in humans when

        administered in various once-daily (i.e., undivided) dosing schedules. PTX-0534

        (Hoff); PTX-0533 (Dwivedy); PTX-538 (Thomas); JTX-0012.0860. It was not until

        the development of the complex twice daily divided dosing regimen of claim 13—

        with the specific dose, molar ratio, dosing schedule and frequency of divided

        dosing—that FTD finally achieved the desired therapeutic result without severe

        adverse events.

                 Second, given FTD’s short half-life, the prior art affirmatively taught away

        from a two-dose divided regimen. Unlike traditional cancer treatments, which rely

        on overwhelming concentration in a dose to destroy cancer cells, FTD operates

        differently. The critical basis for the efficacy of FTD was the amount of time that it

        was in physical contact with cancer cells. That is because rather than brute force

        destruction of the cancer cells, which typifies traditional cancer treatments, FTD’s

        operative mechanism is that it binds with the DNA of cancer cells and causes follow-

        on cancer cells to self-destruct. FTD needs time for that binding to occur—and the

        prior art taught, the more time, the better. As a result, the prior art taught a higher

        number of doses (3+) in order to achieve effectiveness. See supra Section III.C.1.

                 The patented method, however, went the opposite direction. Rather than

        taking three or more divided doses, the ’284 patent taught that FTD ought to be in

        contact with cancer cells for less time—a twice-divided dose. Despite being in

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        contact with the cancer cells for less time, the ’284 patent revealed that a twice-

        divided dose was, contrary to expectations, more effective at treating cancer. The

        ’284 patent’s approach was 180-degrees in the opposite direction from the prior art.

        This is not merely Taiho’s view. The Patent Office was presented with the same

        clinical data on a reexamination of the underlying patent and determined that twice-

        divided dosing had “unexpected” success relative to prior art teachings, explicitly

        articulating that point in the Notice of Allowance for the ’284 patent.

                 Third, Defendants do not persuasively explain why a POSA would have

        adapted Dwivedy’s schedule with Emura’s dosing regimen, given (1) Dwivedy’s

        disparagement of its own results (unsuccessful) and its own schedule, and (2) the

        availability of superior follow-on studies that applied different schedules with

        greater success. As of the filing date of the ’284 patent, a POSA would have known

        that Thomas (the third trial) was developed as an improvement to Hoff (the first) and

        Dwivedy (the second), and Thomas demonstrated a higher maximum tolerable daily,

        undivided dose and provided the most convenient schedule. Thus, if a POSA would

        have been motivated to make additional modifications to the known dosing methods

        of TAS-102, a POSA would have been discouraged from starting with Dwivedy and

        would have been motivated to start with Thomas.

                 Finally, the fourth Graham factor exclusively counsels against a finding of

        non-obviousness. The unrebutted evidence shows that twice-daily divided dosing

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        delivered unexpectedly, superior results to what was expected by the prior art.

        Moreover, by overcoming the failures of the prior art regimens, the inventors of the

        ’284 patent fulfilled a long-felt need for a treatment for Stage IV colorectal cancer

        treatment that meaningfully extends patients’ lives while maintaining their quality

        of life. These benefits have been recognized throughout the industry and led directly

        to significant commercial success for LONSURF®. Defendants largely do not

        dispute these facts; instead, they dispute the nexus requirement. But Defendants’

        nexus argument is foreclosed by Chemours Co. FC, LLC v. Daikin Indus., Ltd., 4

        F.4th 1370, 1378 (Fed. Cir. 2021), and Defendants fail to refute the evidence Taiho

        adduced tying LONSURF® to claim 13 of the ‘284 patent.

                 Finally, Defendants’ half-hearted written description defense falls flat. In less

        than three pages, Defendants argue that the ’284 patent does not adequately describe

        the claimed dosing regimen. However, Defendants ignore the fact the ’284 patent

        expressly describes twice-daily divided dosing and treatment of colorectal cancer.

        II.      PROSECUTION HISTORY OF THE ’284 PATENT

                 A.    Taiho Files A Reissue Application to Put All of the Relevant Prior
                       Art Before the USPTO

                 After the ’783 patent issued, Taiho discovered that an article authored by

        Inventor Emura (“Emura-II,” DTX-11), was published on January 19, 2004—earlier

        than originally believed, and one week before the January 26, 2004 critical date—

        and was therefore prior art to the ’783 patent. Emura-II found that dosing mice in
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        three divided portions per day “resulted in enhancement of the antitumor effects of

        TAS-102 without any additional side effects.” DTX-11.1. Having discovered that

        Emura-II was in fact prior art, on December 30, 2015, Taiho filed a reissue

        application for the ’783 patent. See JTX-0012.0001, 0004.

                 Along with Emura-II, Taiho put several other prior art references before the

        USPTO, including abstracts summarizing the three phase I studies conducted on

        TAS-102: Hoff, Dwivedy, and Thomas.4 JTX-0012.0076-82 (Emura-II) (Ex. F);

        0103 (Hoff) (Ex. K); 0116 (Dwivedy) (Ex. L); 0134 (Thomas) (Ex. M). Each

        abstract disclosed a different dosing regimen and schedule for TAS-102, all with a

        once-daily (i.e., undivided) dose:

            Publication                      Dosing        Dose
                          Abstract                                       Dosing Schedule
            Date                             Regimen       (mg/m2/day)
            November      Hoff               Once daily    50-100      14 days every 21
            2000          (9801)             (undivided)               days
            May 2001      Dwivedy            Once daily  50, 70, 80    5 days a week for 2
                          (9802)             (undivided)               weeks, repeated
                                                                       every 4 weeks
            March 2002 Thomas                Once daily 100, 110,      5 days every 21
                       (9803)                (undivided) 120, 130, 140 days

        PTX-0534; PTX-0533; PTX-0538.




        4
         Taiho referred to the phase I trial interim results discussed by Hoff (PTX-0534) as
        “the 9801 study,” Dwivedy (PTX-0533) as “the 9802 study,” and Thomas (PTX-
        0538) as “the 9803 study.” Tr., 430:15-18 (Goldberg).
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                 B.    Taiho Demonstrates that Twice-Daily Divided Dosing Was
                       Unexpectedly Superior to Three-Times-Daily Divided Dosing

                 In support of the patentability of the amended claims, Taiho submitted the

        declaration of Mr. Mita, which showed that the claimed twice daily divided dosing

        regimen had unexpectedly superior efficacy and safety results compared to the three-

        times daily divided dosing taught by Emura-II. See JTX-0012.0859-68. The

        surprising and unexpected nature of the claimed twice daily divided dosing regimen

        is discussed in Section III.D.1, infra. The Examiner understood the significance of

        these surprising and unexpected results, noting in the Notice of Allowance that: (1)

        “the dosing schedules claimed are below the effective minimum dose taught by

        Emura et al. which suggested three times daily dosing of the FTD/TPI combination

        would be the best protocol for treatment in humans;” (2) “[t]his claimed twice-daily

        dosing protocol shows efficacy in human clinical trials, but also shows reduced

        adverse patient events;” and (3) “[i]t was unexpectedly found that more tumors

        shrunk when treated with the twice-daily dosing schedule than with the three-dose

        daily dosing schedule.” JTX-0012.1333. The USPTO then issued the ’284 patent.

        III.     DEFENDANTS FAILED TO PROVE BY CLEAR AND CONVINCING
                 EVIDENCE THAT CLAIM 13 OF THE ʼ284 PATENT WOULD HAVE
                 BEEN OBVIOUS

                 Defendants have failed to establish by clear and convincing evidence that “the

        differences between the claimed invention and the prior art are such that the claimed

        invention as a whole would have been obvious before the effective filing date of the
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        claimed invention to a person having ordinary skill in the art.” 35 U.S.C. §103 (pre-

        AIA). Obviousness is a question of law predicated on factual determinations,

        including: (1) the level of ordinary skill; (2) the scope and content of the prior art;

        (3) the differences between the claimed subject matter and the prior art; and

        (4) objective indicia of non-obviousness. See Graham v. John Deere Co., 383 U.S.

        1, 17-18 (1966).

                 “The determination of obviousness is made with respect to the subject matter

        as a whole, not separate pieces of the claim.” Sanofi-Synthelabo v. Apotex, Inc., 550

        F.3d 1075, 1086 (Fed. Cir. 2008); 35 U.S.C. § 103. This is because “inventions in

        most, if not all, instances rely upon building blocks long since uncovered, and

        claimed discoveries almost of necessity will be combinations of what, in some sense,

        is already known.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 418-19 (2007). An

        “invention is not obvious simply because all of the claimed limitations were known

        in the prior art at the time of the invention.” Forest Labs., LLC v. Sigmapharm Labs.,

        LLC, 918 F.3d 928, 934 (Fed. Cir. 2019); accord KSR, 550 U.S. at 420.

                 Defendants had the burden not only to prove that each limitation of claim 13

        is found in the prior art, but also to “prove ‘by clear and convincing evidence that a

        skilled artisan would have been motivated to combine the teachings of the prior art

        references to achieve the claimed invention, and that the skilled artisan would have

        had a reasonable expectation of success in doing so.’” Novartis Pharms. Corp. v.

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        West-Ward Pharms. Int’l Ltd., 923 F.3d 1051, 1059 (Fed. Cir. 2019) (emphasis

        added). “The presence or absence of a motivation to combine” and the “presence or

        absence of a reasonable expectation of success” are questions of fact. Id. (quoting

        Par Pharm., Inc. v. TWI Pharms., Inc., 773 F.3d 1186, 1196 (Fed. Cir. 2014)).

        Defendants failed to prove these facts at trial.

                 Finally, “[t]he U.S. Federal Circuit Court of Appeals has consistently

        admonished that ‘an examiner’s decision on an original or reissue application is

        evidence the court must consider in determining whether the party asserting

        invalidity has met its statutory burden by clear and convincing evidence, and that,

        upon reissue, the burden of proving invalidity was made heavier.’” Broussard v. Go-

        Devil Mfg. Co., No. 3:08-CV-00124-BAJ, 2014 WL 46632, at *3 (M.D. La. Jan. 6,

        2014) (quoting Custom Accessories, Inc. v. Jeffrey-Allan Indus., Inc., 807 F.2d 955,

        961 (Fed. Cir. 1986).

                 A.   Person of Ordinary Skill in the Art

                 The parties agreed that a POSA, as of January 2005, would be a physician

        with a medical degree and at least five years of practical experience in the clinical

        treatment of cancer patients. The POSA would have at least 2-3 years of residency

        or fellowship training in oncology and would be an oncologist in the everyday

        practice of treating cancer patients. JSUF, ¶36. Because the drug development

        process is multidisciplinary, the person would have at least practical training in one

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        or more areas of pharmacy, pharmaceutical sciences, preclinical and clinical drug

        development, medicine, pharmacokinetics and/or pharmacology. JSUF, ¶37.

                 The POSA in this case is a practicing physician; not an “investigator”

        (hypothetical or otherwise) as Defendants repeated throughout trial and in its post-

        trial brief. By using the term “hypothetical investigator,” Defendants improperly

        suggest that the Court’s inquiry should be placed on persons focusing on clinical

        trials who are “adjusting only the doses per day” (Tr. at 21:8-23), but that is

        quintessential hindsight. See, Insite Vision Inc. v. Sandoz, Inc., 783 F.3d 853, 859

        (Fed. Cir. 2015) (“Defining the problem in terms of its solution reveals improper

        hindsight in the selection of the prior art relevant to obviousness.”) (internal citation

        omitted). The POSA in this case would have read and understood all the teachings

        of the prior art—including the teachings away discussed below. “The determination

        of the level of ordinary skill in the art is an integral part of the Graham analysis.”

        Ruiz v. A.B. Chance Co., 234 F.3d 654, 666 (Fed. Cir. 2000). Defendants’ failure to

        use the correct POSA standard does not aid the Court in its ultimate determination

        of this matter.

                 B.    Scope and Content of the Prior Art

                 Defendants rely only on three prior art references to assert obviousness:

        (1) Dwivedy (DTX-8/PTX-0533); (2) Emura-II (DTX-11); and (3) the ’535 patent

        (DTX-362) (collectively, the “Relied on Prior Art”). All three references were

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        before the USPTO during reissue examination of the ’284 patent.5 PPFF 17, 37. As

        the chart below reflects, the Relied on Prior Art does not teach every limitation of

        claim 13. PPFF 44, 50, 55, 59-61, 63.

                                                        Max.
       Claim 13
                                                       dose/day
       & Relied                          Molar                       Dosing        Dosing
                     Compounds                         based on
       on Prior                          Ratio                      Regimen       Schedule
                                                      antitumor
         Art
                                                        agent
      Claim 13                                                  2 Divided        5 days on /
                                                     50-70
      of ’284      FTD + TPI          1:0.5                     Portions         2 days off
                                                     mg/m2
      Patent                                                    per Day          in a week
                   Hundreds of        Wide range     Huge       Both             No
                   uracil             of ratios      ranges for Undivided        schedule
      ’535         compounds and      disclosed,     both       and              disclosed
      Patent       fluoropyrimidine   with           compounds. Divided
      (DTX-        antitumor agents   specific
      362)         containing 2’-     ratios tested
                   deoxypyrimdine     from 1:0.2 -
                   nucleosides        1:5
      Dwivedy      TAS-102            Not           80 mg/m2       Undivided 5 days on /
      Abstract     (FTD + TPI)        disclosed                              2 days off
      (DTX-
      8/PTX-
      0533)
                   TAS-102            1:0.5          150 mg/kg     Undivided 1 or 3 days
      Emura-II     (FTD + TPI)                       (mice)        & three-    (mice)
      (DTX-11)                                                     times daily
                                                                   divided




        5
          “[A] party challenging validity shoulders an enhanced burden if the invalidity
        arguments relies on the same prior art considered during examination by the [PTO].”
        Tokai Corp. v. Easton Enters., 632 F.3d 1358, 1367 (Fed. Cir. 2011); see also Tris
        Pharma, Inc. v. Actavis Labs. FL, Inc., 503 F. Supp. 3d 183, 203 (D. Del. 2020).
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                 C.    There Are Significant Differences Between Claim 13 and the Prior
                       Art

                       1.        The Relied on Prior Art Does Not Disclose All of the
                                 Elements of Claim 13

                 Claim 13 recites a method of treating colorectal cancer orally with a

        combination         of    α,α,α-trifluorothymidine   (FTD)    and    5-chloro-6-(1-(2-

        iminopyrrolidinyl)methyl)uracil hydrochloride (tipiracil hydrochloride, or TPI) in a

        molar ratio of 1:0.5—also known as TAS-102 or LONSURF®. JTX-0001.0009,

        9:20-34. One component of TAS-102, FTD, is a powerful anticancer agent with

        demonstrated dose-limiting toxicity. Tr., 369:11-370:19 (Goldberg); DTX-333.2.

        Unlike other 2’-deoxypyrimidine nucleosides, FTD’s anticancer activity is amplified

        by its incorporation into the DNA of the target tumor cells. DTX-11.1. For FTD to

        be incorporated effectively, the tumor cells must be exposed to the drug for an

        extended period of time. DTX-11.1. However, each dose the patient receives must

        be low enough to avoid significant adverse effects. TAS-102 can therefore produce

        its intended anticancer effect only if the patient receives the appropriate total daily

        dose, and that total daily dose is divided into the appropriate number of portions,

        and that daily dose is administered on the proper schedule.

                 Claim 13 also recites a complex dosing regimen that requires that the drug be

        administered “at a dose of 50 to 70 mg/m2/day . . . in 2 divided portions per day.”

        JTX-0001.0009, 9:25-26. In other words, the patient receives 2 portions per day,

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        and the 2 portions together add up to the required 50 to 70 mg/m2 daily dose. Adding

        further complexity, claim 13 requires that the patient receive the required dose in 2

        divided portions per day “for 5 days followed by 2 days off treatment in the week

        on a one-week dosing schedule.” JTX-0001.0009, 9:30-32. FTD has long been

        recognized as a potent anticancer agent, but its short half-life, about 12 minutes,

        historically prevented any practical therapeutic application of FTD alone. DTX-11.1.

        Taiho addressed FTD’s short half-life by combining it with TPI, a thymidine

        phosphorylase inhibitor, which slows the degradation of FTD and allows it to have

        a therapeutic effect. JTX-0001.0005, 2:16-21. The resulting combination, TAS-102,

        was promising but still resulted in adverse events in humans when administered on

        various once-daily (i.e., undivided) dosing schedules. PTX-0534 (Hoff); PTX-0533

        (Dwivedy); PTX-0538 (Thomas). It was not until the development of the complex

        twice daily divided dosing regimen of claim 13— with the specific dose, molar ratio,

        dosing schedule and frequency of divided dosing—that FTD could be administered

        to patients in a manner that achieved the desired therapeutic result.

                 It is undisputed that the Relied on Prior Art does not disclose every element

        of claim 13. Among other things, Defendants admit that twice-daily divided dosing

        is not taught in the prior art. Tr., 527:23-24. Neither the Dwivedy abstract nor the

        ’535 patent identifies the exact combination of compounds (FTD and TPI) set forth

        in claim 13, which is significant given FTD’s unique mechanism of action. DTX-

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        11.1 (describing action of incorporating into DNA). Only Emura-II discloses the use

        of FTD with TPI; only Emura-II recognizes FTD’s unique mechanism of action; and

        only Emura-II explains—after conducting experiments in mice—that there remains

        the unsolved problem of identifying a means for administering the drug combination

        in a manner that would permit the “efficient incorporation of [FTD] into DNA . . .

        for maximally exerting the antitumor activity of FTD.” DTX-11.6. But nothing in

        Emura-II suggests that dosing in only two divided portions per day would result in

        appropriate levels of FTD exposure or reduce potential adverse events; rather, the

        prior art taught away from any such understanding.

                      2.    The Full Scope of Prior Art Teaches Away From the
                            Limitations of Claim 13
                 Obviousness “cannot be based on the hindsight combination of components

        selectively culled from the prior art to fit the parameters of the patented invention.”

        Cheese Sys., Inc. v. Tetra Pak Cheese & Powder Sys., Inc., 725 F.3d 1341, 1352

        (Fed. Cir. 2013). “Care must be taken to avoid hindsight reconstruction by using the

        patent in suit as a guide through the maze of prior art references, combining the right

        references in the right way so as to achieve the result of the claims in suit.” In re

        NTP, Inc., 654 F.3d 1279, 1299 (Fed. Cir. 2011) (internal quotations omitted).

        Rather, when examining the prior art, there must be a reason to select the known

        elements as starting points. KSR, 550 U.S. at 418-21. Additionally, references must

        be considered “as a whole, including portions that would lead away from the
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        invention in suit.” Panduit Corp. v. Dennison Mfg. Co., 810 F.2d 1561, 1568 (Fed.

        Cir. 1987).

                 Rather than consider the full scope of prior art available to a POSA,

        Defendants employ improper hindsight bias in focusing only on the prior art that

        most closely resembled claim 13, while ignoring other teachings from the prior art

        that taught away from the claimed invention. For example, Defendants focus on

        Dwivedy, the second of three Phase I studies testing various dosing amounts and

        schedules of TAS-102, but essentially ignore the other two Phase I clinical studies—

        even though the Dwivedy regimen proved less effective. As discussed below,

        Dwivedy’s relative ineffectiveness means a POSA would have understood it as less

        effective than the other studies, and therefore would not have relied on it.

                 Defendants fail to justify their mosaic-like approach to assembling the claims

        from disparate portions of the prior art. Defendants also selectively pick and choose

        from a number of dosing schedules used in clinical trials of other chemotherapy

        drugs (e.g., UFT and S-1), to create the misimpression that such drugs were only

        being tested with dosing schedules similar to that of the claimed invention. D.I. 122

        at 14, 18-19, 28, 32. This incomplete characterization of the prior art is of little

        relevance.     FTD, even when combined with TPI (TAS-102), has a different

        mechanism of action than other chemotherapeutic agents, and thus faces different



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        development challenges. Defendants do not make the necessary showing that a

        POSA would have treated different drugs as instructive.

                 For example, while Dr. Ratain explained that UFT had been tested with a 5

        day on, 2 day off schedule (Tr., 113:10-114:8), there were at least seven other UFT

        studies in the same timeframe testing a variety of dosing schedules, including

        fourteen days every three weeks, (as in Hoff), twenty-one days every four weeks,

        fourteen days every four weeks, among other schedules. DTX-235.16. At the same

        time, UFT was undergoing clinical tests at once, twice, and three-times daily dosing.

        DTX-235.16, 17, 19.       In addition, while DTX-247, which was shown to Dr.

        Goldberg on cross examination, shows a 5 day on, 2 day off schedule tested for a

        combination of UFT and leucovorin, it was actually administered three-times daily

        in that study. DTX-247.2. Another drug Defendants reference, S-1, was being

        studied with both once and twice-daily dosing. See DTX-235.24.

                 Defendants’ selective, hindsight-based reliance on only some portions of

        these contemporary studies, while ignoring other portions that teach away from the

        claimed invention should be given no weight in the obviousness determination.

                       3.    Combining the Prior Art Together Does Not Disclose All of
                             the Limitations in Claim 13

                 “[O]bviousness concerns whether a skilled artisan not only could have made

        but would have been motivated to make the combinations or modifications of prior

        art to arrive at the claimed invention.” Belden Inc. v. Berk-Tek LLC, 805 F.3d 1064,
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        1073 (Fed. Cir. 2015) (emphasis added). There cannot be obviousness when the

        prior art provided no “reason to select (among several unpredictable alternatives) the

        exact route” to the invention.” Ortho-McNeil Pharm., Inc. v. Mylan Labs., Inc., 520

        F.3d 1358, 1364 (Fed. Cir. 2008). Even if the POSA in this case had chosen the

        most advantageous compounds, molar ratio, dosing regimen, and dosing schedule

        known in the art, the POSA still would not have arrived at the limitations of claim

        13. Defendants are thus relegated to arguing that the method of claim 13 was

        “obvious to try,” a theory that they cannot establish in this case.

                       4.    The Patented Method of Claim 13 Was Not “Obvious to Try”

                             i.    “Obvious to Try” Requires a Finite Number of
                                   Predictable Solutions; Not General Experimentation

                 As the Supreme Court stated in KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398

        (2007), an invention may be obvious to try “[w]hen there is a design need or market

        pressure to solve a problem and there are a finite number of identified, predictable

        solutions.” Id. at 421 (emphasis added). Both before and after KSR, the Federal

        Circuit has consistently held that “obvious to try” does not render obvious a patented

        invention where the properties of that invention or the methods of obtaining it were

        not predictable, or where there was no reasonable expectation of success. This is

        especially so where a skilled artisan must “explore a new technology or general

        approach that seemed to be a promising field of experimentation, where the prior art


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        gave only general guidance as to the particular form of the claimed invention or how

        to achieve it.” In re O’Farrell, 853 F.2d 894, 903 (Fed. Cir. 1988).

                 Here, the trial record shows that the prior art provided a number of different

        approaches to administering TAS-102 in a multitude of different dosages, using

        different dosing regimens and applying different dosing schedules—none of which,

        however, were considered successful by January 26, 2005. “The Court in KSR did

        not create a presumption that all experimentation in fields where there is already a

        background of useful knowledge is ‘obvious to try,’ without considering the nature

        of the science or technology.” Abbott Labs. v. Sandoz, Inc., 544 F.3d 1341, 1352

        (Fed. Cir. 2008). “[A] conclusion of obviousness does not follow from merely

        vary[ing] all parameters or try[ing] each of numerous possible choices until one

        possibly arrived at a successful result, where the prior art gave either no indication

        of which parameters were critical or no direction as to which of many possible

        choices is likely to be successful.” Grunenthal GmbH v. Alkem Labs. Ltd., 919 F.3d

        1333, 1345 (Fed Cir. 2019) (internal quotation marks omitted). Defendants cannot

        satisfy this burden because the prior art and the evidence adduced at trial pointed in

        the opposite direction of the claimed invention.

                             ii.    The Prior Art Taught Away from Using Two Divided
                                    Portions Per Day of FTD

                 Defendants did not demonstrate by clear and convincing evidence that a

        POSA would have been motivated to choose an unproven, unsupported treatment
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        regimen (twice-daily divided dosing) that had never been tested in animals or

        humans. The information available to a POSA at the time of the invention about

        (i) the half-life of FTD (12 mins); (ii) the mechanism of action of FTD (incorporation

        into DNA in a time dependent manner); and (iii) the toxicity of FTD (adverse events)

        all taught away from the claimed invention and would have directed a POSA towards

        three or more divided doses per day—two divided doses was in the opposite

        direction and contrary to the teachings of the prior art.

                 FTD has a very short half-life of about 12 minutes. Tr., 144:4 (Ratain); Tr.,

        348:13-15 (Goldberg). The half-life of FTD had been understood since at least 1970.

        JTX-0012.0088, 0090; JTX-0001.0005, 2:1-7. Understanding this short half-life,

        Ansfield administered FTD alone every three hours for a total of eight daily doses.

        DTX-333.2. But FTD, even when combined with TPI to form TAS-102, still

        resulted in adverse events in humans when administered on a once-daily (i.e.,

        undivided) dosing schedule. PTX-0533 (Dwivedy).

                 With this background in mind, Emura-II hypothesized that if TAS-102 were

        administered in a three-times daily divided dose at 3-hour intervals, the FTD could

        contact tumor cells “at a several-micro molar range” for an extended period of time

        sufficient to enhance the drug’s anticancer effect. DTX-11.4-5. Indeed, when

        Emura-II compared groups of mice receiving once-daily undivided doses of TAS-

        102 (100 mg/kg or 150 mg/kg single daily dose) to groups of mice receiving three-

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        times daily divided doses of TAS 102 (90 mg/kg/day divided into three 30mg/kg

        doses, or 150 mg/kg/day divided into three 50 mg/kg doses), they found that “FTD

        incorporation into DNA was enhanced by [the three-times daily] divided dosing

        modality.” DTX-11.3, 5.

                 Among the treatment groups, Emura-II found that the mice receiving 150

        mg/kg/day divided into three 50 mg/kg doses had a “significantly enhanced []

        antitumor effect” and stated that “incorporation of FTD into DNA may be increased

        by [three-times divided daily dosing] of 50 mg/kg each compared to single

        [undivided] dosing of 150 mg/kg.” DTX-11.6. As Dr. Goldberg explained, Emura-

        II suggests that “exposure to significant drug levels over ten hours would be ideal,”

        making it optimal to administer three doses three hours apart. Tr., 348:10-21

        (Goldberg). Emura-II concluded that “[t]he present protocol [(3 dose portions

        daily)] seems well advised.” DTX-11.6. Moving from a single, undivided dose to

        a three-times daily divided dose offered improved efficacy by extending the length

        of time tumor cells were exposed to the drug (even in view of its short half-life).

                 Moving to a three-times daily divided dose also offered a chance to further

        decrease adverse events by avoiding a single large dose of FTD, which was known

        to have significant adverse effects. As a POSA would have understood, when a dose

        is divided into more than one portion per day (i.e., two, three or even more portions),

        the amount of drug in each portion decreases as the number of portions increases.

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        The benefits of three-times daily dosing that Emura-II demonstrated (DTX-11.2, 5-

        6), in the context of the other art available at the time, would have taught a POSA to

        continue moving toward three or more (smaller, more frequent) divided dose

        portions per day, rather than to move backward to two (larger, less frequent) divided

        dose portions per day. See KSR, 550 U.S. at 416 (“The Court relied upon the

        corollary principle that when the prior art teaches away from combining certain

        known elements, discovery of a successful means of combining them is more likely

        to be nonobvious”) (citing United States v. Adams, 383 U.S. 39, 51-52 (1966)).

                 Dr. Goldberg explained that it would not have been expected that twice-daily

        dosing of a “drug combination that has a 1.4-hour half-life would be better than

        three-times-a-day dosing where longer exposure could have potentially led to longer

        – or to greater incorporation of the drug into DNA.” Tr., 450:20-25; see also DTX-

        11; DTX-333.

                 Dr. Ratain did not contradict Dr. Goldberg. Instead, Dr. Ratain testified that

        “dividing the dose, [] into two or three portions would certainly be feasible.” Tr.,

        164:24-165:4 (emphasis added). Feasibility is a far cry from an explaining whether

        a POSA would have a reasonable expectation of success. See ActiveVideo Networks,

        Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1327 (Fed. Cir. 2012) (rejecting

        conclusory expert testimony focused merely on the fact that a POSA would have

        known how to combine the various elements to arrive at the claimed invention). This

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        testimony from Defendants’ expert falls well short of demonstrating by clear and

        convincing evidence that the POSA would have had a reasonable expectation of

        success in modifying the prior art to arrive at the claimed invention, especially the

        twice-daily-divided dosing element. Given these teachings, a POSA would not have

        been motivated to decrease the number of dose portions to two. Instead, the POSA

        would have been motivated to increase the number of divided doses to three or more.

                             iii.   The Prior Art Taught Away from Using a Dosing
                                    Schedule of 5-days On and 2-days Off
                 When considering whether a particular dosing schedule was obvious to try, a

        POSA must take into consideration the actions of the people performing these

        clinical trials. Here, there is a clear record of the iterative process involving TAS-

        102, and Defendants have provided no evidence or reasoning to contradict that work.

                 The evidence shows that the TAS-102 researchers started their work with the

        Hoff study. PTX-0534. Based on Hoff, researchers then performed the Dwivedy

        study. PTX-0533. Based on Dwivedy, researchers then performed the Thomas

        study. PTX-0538. Notably, despite doing three separate studies, the researchers

        never divided the daily doses. Instead, they kept the undivided dosing regimen and

        focused on modifying the dosing schedule.

                 As of January 26, 2005, a POSA would have known that Thomas, which was

        developed based on all information available from Hoff and Dwivedy, demonstrated

        a higher maximum tolerable daily, undivided dose and provided the most convenient
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        schedule. Tr., 345:17-18. Thus, if a POSA would have been motivated to make

        additional modifications to the known dosing methods of TAS-102, the POSA would

        have started with Thomas.

                 Yet Dr. Ratain and Defendants willfully ignore the dosing schedule taught by

        Thomas. The first study, Hoff, administered TAS-102 in doses ranging from 50-100

        mg/m2/day for 14 days every 21 days (2 weeks on, 1 week off). PTX-0534.

        Dwivedy was the second study. PTX-0533. The third, Thomas, administered TAS-

        102 in doses ranging from 100-140 mg/m2/day for 5 days every 21 days. PTX-0538.

        Of these three Phase I trials, Dwivedy reported the lowest disease control rate

        (“DCR”).6 Dwivedy reported results in 12 patients, with only one exhibiting stable

        disease (DCR = 8%). PTX-0533; JTX-0012.0128. In contrast, Hoff reported results

        for 14 patients, with 5 patients exhibiting stable disease (DCR = 36%). PTX-0534.

        Thomas reported results for 21 patients, with 4 patients exhibiting stable disease

        (DCR = 19%). PTX-0538; JTX-0012.0145. Given all the available information, the

        TAS-102 researchers chose to move away from the Dwivedy schedule to the Thomas

        schedule. This could be due, in part, to the fact that Dwivedy produced a low DCR.




        6
         DCR is an indication of a drug’s efficacy. JTX-0012.1280 (Exhibit Q identifies
        DCR as a category considered for efficacy. DCR “shows the percentage of patients
        who exhibited reduction of tumor size or inhibition of tumor growth for a certain
        period,” with evaluation using the RECIST criteria); see also JTX-0023.0003, 0006
        (NEJM article addressing DCR as a secondary endpoint of efficacy).
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        Given the Thomas results, a POSA would not have retreated back to the dosing

        schedule that produced the lowest DCR.

                 Defendants offer no plausible explanation for why a POSA would have

        chosen the dosing schedule of Dwivedy over Hoff or Thomas. Dr. Ratain never

        explained why a POSA would have chosen the older, less effective, more

        complicated Dwivedy dosing schedule. Such conclusory testimony is insufficient for

        Defendants to carry their burden. See Upjohn Co. v. Mova Pharm. Corp., 225 F.3d

        1306, 1311 (Fed. Cir. 2000) (“At this critical point in the determination of

        obviousness, there must be factual support for an expert’s conclusory opinion”). Put

        simply, the evidence does not demonstrate a clear reason to start with the Dwivedy

        schedule. See KSR, 550 U.S. at 418-21. The only explanation for Defendants’

        selection of Dwivedy is that it is based on improper hindsight.

                 Indeed, Dr. Goldberg confirmed that the Thomas dosing schedule would be

        the easiest to prescribe: “In my mind, five days out of every three weeks would be

        easiest.” Tr., 345:17-18. Dr. Goldberg’s second choice would be Hoff: “Two weeks

        out of every three weeks would be next easiest.” Tr., 345:18-19. He also explained

        that the dosing schedule in Dwivedy is “a more complicated regimen and not one

        that U.S. patients had commonly been prescribed in the past.” Tr., 345:23-25.

        Defendants and their expert agree on this point. See D.I. 122 at 45 (referring to

        Hofmann testimony and contending that the “complicated” dosing schedule of claim

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        13 had a “negative impact” on marketplace performance). And contrary to

        Defendants’ suggestion, Dr. Goldberg’s testimony that Dwivedy presented the most

        complicated schedule is not based on hindsight. Dr. Goldberg did not base his

        testimony solely on his experience actually prescribing Lonsurf. Dr. Goldberg was

        a physician in 2005 and his testimony was based on his review of the schedules

        disclosed in the art. Tr., 345:13-25.7

                 D.    Objective Evidence Supports the Non-obviousness of Claim 13 of
                       the ʼ284 Patent
                 The objective evidence presented by Taiho confirms the non-obviousness of

        claim 13. These real-world facts are “crucial in avoiding the trap of hindsight when

        reviewing, what otherwise seems like, a combination of known elements.” Leo

        Pharm. Prods., Ltd. v. Rea, 726 F.3d 1346, 1358 (Fed. Cir. 2013); WBIP, LLC v.

        Kohler Co., 829 F.3d 1317, 1328 (Fed. Cir. 2016). Indeed, objective indicia “may

        often be the most probative and cogent evidence of nonobviousness in the record.”

        Mintz v. Dietz & Watson, Inc., 679 F.3d 1372, 1378 (Fed. Cir. 2012). Taiho bears a

        “burden of production” in showing the existence of objective indicia by a



        7
          At trial, Dr. Goldberg was asked whether a POSA would have been motivated to
        combine Dwivedy with Emura-II. In response, Dr. Goldberg explained “the iterative
        process of developing new drugs requires using all the data that is possibly available
        . . . includ[ing] the three clinical study reports [i.e., Hoff, Thomas and Dwivedy].”
        Defendants, however, mischaracterize the foregoing testimony to suggest,
        erroneously, that Dr. Goldberg admitted that a POSA would have simply combined
        Dwivedy and Emura-II. D.I. 122 at 26, 29-30.
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        preponderance of the evidence. Prometheus Labs., Inc. v. Roxane Labs., Inc., 805

        F.3d 1092, 1101-02 (Fed. Cir. 2015). However, the burden of proving invalidity

        remains with Defendants.

                 In this case, unexpected results, long-felt but unmet need, industry praise, and

        commercial success provide strong objective evidence that the claimed invention is

        non-obvious.

                       1.     The Claimed Dosing Regimen Led to Unexpected Results
                 Unexpected results are evidence of non-obviousness because “that which

        would have been surprising to a person of ordinary skill in a particular art would not

        have been obvious.” In re Soni, 54 F.3d 746, 750 (Fed. Cir. 1995). This factor is

        particularly relevant in “the less predictable fields,” such as cancer treatments,

        “where minor changes in a product or process may yield substantially different

        results.” Id.; see also Pharmacyclics LLC v. Alvogen Pine Brook LLC, 556 F. Supp.

        3d 377, 400 (D. Del. 2021), aff’d sub nom. Pharmacyclics LLC v. Alvogen, Inc., No.

        2021-2270, 2022 WL 16943006 (Fed. Cir. Nov. 15, 2022) (“Cancer treatment can

        be unpredictable.”).

                 As discussed above, Emura-II demonstrated that dividing the daily dose into

        three or more parts was more effective than giving the same total dose in an

        undivided single administration. With these data in mind, Taiho decided to perform

        Phase I clinical studies using a three-times-daily divided dosing regimen. However,

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        Mr. Mita also suggested gathering data on a twice-daily divided dose. JTX-

        0012.0860, ¶3.

                 Mr. Mita’s suggestion ran counter to everything a POSA would have

        understood about dosing TAS-102 at the time the ’284 patent was filed. Emura-II

        (DTX-11.6) had demonstrated that compared to a single daily dose, dividing the total

        daily dose into three smaller, more frequent portions resulted in improved efficacy.

        JTX-012.0860, ¶3. Takeda (PTX-0523.0002-03) demonstrated that FTD alone was

        more effective when the daily dose was divided into four portions. JTX-0012.0860,

        ¶3. Yet Mr. Mita proposed moving backward—dividing the total daily dose into

        just two portions (necessarily making each portion larger than it would have been

        with a three-times-daily or more frequent divided dosing regimen).

                 Even the TAS-102 team initially doubted that a twice-daily divided dosing

        regimen would work and was ultimately surprised that the regimen achieved better

        continuity of administration and efficacy than three-times-daily dosing and resulted

        in fewer side effects than expected. Tr., 268:19-269:4 (Mr. Mita testified that his

        colleagues “thought that based on the research papers and their experience up to that

        point in time, that three times daily or four times daily or even more frequently daily

        would be more effective; and therefore, they did not believe that there’s any

        possibility for twice daily being effective.”); JTX-0012.0860, ¶3; 0861, ¶5. Mr. Mita

        himself noted that “[b]ased on the available data it was our expectation that the three

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        times per day dosing would be better.” JTX-0012.0860, ¶3. Nothing in the prior art

        at the time suggested to Mr. Mita, let alone to a POSA, that a twice-daily divided

        dosing regimen would produce superior results, and a POSA would not have had a

        reasonable expectation of success using a twice-daily divided dosing regimen based

        on the data available at the time.

                 Yet surprisingly, despite Taiho’s expectation that a three-times daily divided

        dosing regimen would be better, the inventors found increased efficacy with the

        twice-daily divided dose—“the opposite of that predicted by Dr. Emura’s tests in

        mice.” JTX-0012.0861, ¶5. And although Mr. Mita expected “that patients on the

        twice a day dosing would experience significantly more side effects from the higher

        amount of TAS-102 administered in each dose,” they found no significant

        difference in adverse events between the twice-daily and three-times-daily divided

        dosing regimens. JTX-0012.0861, ¶5. These results were “quite surprising” and

        unexpected given that the data available in the prior art “suggested that 3 to 4 divided

        doses would be expected to be better.” JTX-0012.0862, ¶6.

                 Mr. Mita’s declaration described the results of two Taiho studies, referred to

        as the 9804 and 9805 studies. Neither study is prior art. In Taiho’s 9805 study, TAS-

        102 was administered at a three-times-daily divided dose of 70 mg/m2/day up to 80

        mg/m2/day for five days a week followed by two days rest for two weeks every four

        weeks. JTX-0012.1310. In Taiho’s 9804 study, TAS-102 was administered at a

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        twice-daily divided dose of 50 mg/m2/day up to 80 mg/m2/day for five days a week

        followed by two days rest for two weeks every four weeks. JTX-0012.1309. Mr.

        Mita’s declaration (JTX-0012.0860) and Exhibit Q (JTX-0012.1258) demonstrate

        that the 9804 study (twice-daily divided dosing) outperformed the 9805 study (three-

        times-daily divided dosing) in all categories related to continuity and efficacy when

        tested at doses within the claimed range of claim 138:

                                                                9804               9805
           Number of days of prolongation of the         2.6 days           4.4 days
           washout period
           Percentage of cases with dose reduction       63%                100%
           Relative Dose Intensity                       82%                78%
           Disease Control Rate (DCR)                    75%                67%
           Maximum Tumor Reduction (mean,                13.1%, 7.4%        0.7%, -2.7%
           median)




       8
         Exhibit Q shows better efficacy for the 9804 study in both categories, and better
        continuity in at least 3 of 4 categories, across the doses within the scope of claim 13.
        In the fourth continuity category, the results were equal or better (i.e., “Number of
        courses started at the initial dose”). JTX-0012.1258-59. With respect to safety (i.e.,
        adverse events), although Mr. Mita stated that “there was no significant difference
        between the two studies,” he also explained this was unexpected because Taiho’s
        “expectation had been that patients on the twice a day dosing would experience
        significantly more side effects from the higher amount of TAS-102 administered in
        each dose” and Exhibit Q reports a number of examples where 9804 outperformed
        9805 in terms of side effects as well. JTX-0012.0861, 1258-84.

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                 Given the teachings of Emura-II and Takeda, a POSA would have been

        surprised to learn that the twice-daily, divided dosing regimen of 9804 demonstrated

        superior performance over the three-times-daily, divided dosing of 9805.9 As shown

        in the waterfall plots below, the 9804 study demonstrated significantly greater tumor

        reduction:




        JTX-0012.1284. The 9804 study also had far better continuity of administration

        with a mean duration of stable disease of 229 days as compared to 132 days for the

        9805 study. Tr., 353:10-354:8 (Goldberg); JTX-0012.1309-10. As compared to the

        9805 study, the 9804 study had a shorter washout period, fewer cases of dose

        reduction, higher relative dose intensity, better DCR, and greater tumor reduction.

        The evidence demonstrating better continuity is also directly tied to the one of the

        most important benefits of LONSURF relative to other competitive drugs, namely,




        9
         The results were also surprising in view of Emura’s later-conducted (non-prior art)
        mouse studies, which suggested that “2 and 3 times per day dosing were equally
        effective.” JTX-0012.0862 (Mita Decl., ¶ 7).
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        the fact that it results in both extension of life and better quality of life over that

        extended time period. Tr., 314:1-16 (Whitten).

                 Additionally, the 9804 study surprisingly had a comparable, if not better, side

        effect profile. The 9804 study had fewer incidences of adverse events and adverse

        drug reactions in many categories, including hematologic toxicity and

        gastrointestinal toxicity. JTX-0012.1263-80. These results were surprising because

        Taiho expected “that patients on the twice a day dosing would experience

        significantly more side effects from the higher amount of TAS-102 administered in

        each dose.” JTX-0012.0861.

                 These unexpected results amount to a difference in kind, not merely in degree.

        The 9804 study outperformed the 9805 study in at least five different categories

        related to continuity and efficacy. Indeed, the mean duration of stable disease for

        the 9804 study was nearly double that of the 9805 study. Tr., 353:10-354:8, 452:6-

        15 (Goldberg); JTX-0012.1309-10.

                 This evidence went unrebutted at trial. Dr. Ratain did not have any criticism

        of the continuity and safety data presented in Exhibit Q, and rather than question Mr.

        Mita at trial, Defendants relied on information later submitted to FDA in an attempt

        to challenge the unexpected results.

                 Defendants repeatedly argue there is no evidence of unexpected results

        because the 9804 and 9805 studies did not demonstrate efficacy (D.I. 122 at 10, 38-

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        40), but this argument is irrelevant in view of Defendant’s position that claim 13

        does not require efficacy (D.I. 122 at 12). Their argument is also factually incorrect.

        Mr. Mita presented testimony regarding the unexpectedly better efficacy results for

        the 9804 study in Exhibit Q. Tr., 275:20-277:1. Further, one goal of the 9804 and

        9805 studies was to “document any antitumor activity” by applying the RECIST

        criteria, and Dr. Goldberg explained that patients in both studies reported stable

        disease. Tr., 353:10-354:8, 356:4-19, 452:6-14 (Goldberg); JTX-0012.0903, 0906

        (“Efficacy was also based on . . . duration of stable disease.”). Additional record

        evidence supports the understanding that stable disease is evidence of efficacy.10

                 Finally, that the 9804 study included breast cancer patients does not prevent

        comparison of the two studies.11 Breast cancer tumors and colorectal cancer tumors

        are both solid tumors, which means they arise from gland-forming organs and tend




        10
          FDA recognized the importance of achieving stable disease in late stage colorectal
        cancer patients undergoing third line treatment. FDA approved LONSURF based
        on RECOURSE, which showed a DCR of 44% under a secondary endpoint, with
        only 1.4% of patients demonstrating a partial response with the remaining
        demonstrating stable disease. JTX-0023.0006.
        11
           Likewise, Dr. Ratain’s testimony that “the notion that even Taiho thought [the
        9804 results] were great is pretty farfetched” because there were no further studies
        in breast cancer patients is a red herring. The TAS-102 project was designed to
        investigate a treatment for colorectal cancer. PTX-534; PTX-533; PTX-1699.0005;
        PTX-1707.0005 (all prior studies were primarily in gastrointestinal or colorectal
        cancers). Mr. Mita also explained the only reason why the 9804 study was conducted
        with breast cancer patients was because of budget and timing. Tr., 269:5-14.
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        to be responsive to fluoropyrimidines. Tr., 278:22-279:4 (Mita); Tr., 376:8-14

        (Goldberg). FTD was also known to be effective against both cancers. Tr., 278:22-

        279:4 (Mita); Tr., 376:8-377:2 (Goldberg). The RECIST evaluation criteria are used

        for both cancers. Tr., 278:22-279:4 (Mita). Defendants did not rebut any of this

        testimony at trial. It is also standard practice to look to similar tumors when

        evaluating a drug. Tr., 357:11-359:10 (Goldberg). Indeed, Dr. Ratain authored

        numerous studies that compared different cancer types, using waterfall plots to show

        the results. Tr., 211:11-25, 214:3-6, 215:6-9 (Ratain).

                 Having read and understood Mr. Mita’s declaration, the supporting evidence,

        and the prior art of record, the USPTO appreciated the significance of the surprising

        and unexpected results encompassed by claim 13. In the Notice of Allowance of the

        ’284 patent, the PTO observed that “[t]his claimed twice-daily dosing protocol

        shows efficacy in human clinical trials, but also shows reduced adverse patient

        events;” and “[i]t was unexpectedly found that more tumors shrunk when treated

        with the twice-daily dosing schedule than with the three-dose daily dosing

        schedule.” JTX-0012.1333. That type of “technical finding[]” means that “the court

        should be extremely reluctant to substitute its opinion for the expertise of the patent

        office.” MiMedx Grp., Inc. v. Tissue Transplant Tech., Ltd., 354 F. Supp. 3d 742,

        753 (W.D. Tex. 2018) (quoting Ingersoll-Rand Co. v. Brunner & Lay, Inc., 474 F.2d

        491, 496 (5th Cir. 1973)). “Where the PTO has made a finding, the attacker of a

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        patent’s validity has ‘the added burden of overcoming the deference that is due to a

        qualified government agency.’” Id. (quoting Am. Hoist & Derrick Co. v. Sowa &

        Sons, Inc., 725 F.2d 1350, 1359 (Fed. Cir. 1984), overruled on other grounds in

        Therasense, Inc. v. Becton, Dickinson and Co., 649 F.3d 1276 (Fed. Cir. 2011)).

        Defendants have not carried either burden here.

                       2.    The Real-World Performance of LONSURF® Provides
                             Additional Objective Evidence of Non-Obviousness

                 For objective indicia evidence to support non-obviousness, the evidence must

        be “attributable to the inventive characteristics of the discovery as claimed in the

        patent.” Apple Inc. v. Samsung Elec. Co., 839 F.3d 1034, 1068 (Fed. Cir. 2016) (en

        banc). There is a “presumption of nexus for objective considerations when the

        patentee shows that the asserted objective evidence is tied to a specific product and

        that product is the invention disclosed and claimed in the patent.” Immunex Corp.

        v. Sandoz Inc., 964 F.3d 1049, 1067 (Fed. Cir. 2020). The real world performance

        of LONSURF® has a presumptive nexus to claim 13 and provides additional

        objective evidence of non-obviousness based on satisfaction of a long-felt but unmet

        need, industry praise, and commercial success.

                 Importantly, the nexus between LONSURF® and claim 13 is not defeated by

        the fact that some of the limitations are present in the prior art. “[T]he separate

        disclosure of individual limitations, where the invention is a unique combination of

        [multiple] interdependent properties, does not negate a nexus. Concluding otherwise
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        would mean that nexus could never exist where the claimed invention is a unique

        combination of known elements from the prior art.” Chemours Co. FC, LLC v.

        Daikin Indus., Ltd., 4 F.4th 1370, 1378 (Fed. Cir. 2021). As is common in disease

        treatment regimens, the dosing regimen disclosed in claim 13 works as an

        interdependent whole, because each claimed component (the division, the dosage,

        the schedule) takes on different significance when incorporated into the overall

        system. Put simply, “dose some other drug for 5 days on” is different than “dose

        LONSURF® for 5 days on.” Defendants’ improper dissection of claim 13’s

        components fails to consider whether there is a nexus to “the claimed invention as a

        whole,” and contravenes the Federal Circuit’s instruction in Chemours.

                            i.    The Benefits of LONSURF® Are Tied to Claim 13 of
                                  the ’284 Patent

                                  a.    The Presumption of Nexus Applies

                 Here, Taiho presented undisputed evidence that LONSURF®’s recommended

        dosage regimen, as described in the product label, is embodied by claim 13. JTX-

        0151. The label is the guideline that physicians use to prescribe LONSURF® (Tr.,

        359:18-360:12 (Goldberg)) and incorporates the dosing scheduled applied in the

        RECOURSE study upon which FDA approval was granted (Tr., 320:20-23

        (Whitten)). Defendants do not seriously challenge these points. Instead, Defendants

        assert that LONSURF® is not commensurate in scope with claim 13, arguing:

        (1) there is no evidence “suggesting that 100% of the prescriptions written for
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        LONSURF® were tied to the dosage range of claim 13”12; (2) claim 13 is broader

        than the label for LONSURF®, and (3) other patents cover LONSURF®. Each of

        these arguments fails.

                                       1.      The Evidence Shows that LONSURF® Is
                                               Dosed in Accordance with Its Label
                 Contrary to Defendants’ brief, Taiho presented unrebutted evidence that

        LONSURF® is dosed in accordance with its label. Timothy Whitten, the president

        and CEO of Taiho Oncology, Inc., testified that in Phase III studies for LONSURF®,

        patients received the FDA-approved dosing regimen. Tr., 320:20-23 (Whitten). He

        also explained it is “important that [patients] get the proper dose and the proper

        schedule of Lonsurf if they wanted to achieve the optimal benefit from the drug.”

        Tr., 320:2-4; see also PTX-1738.0006 (clinicians should “avoid unnecessary dose

        reductions”). Further, Dr. Goldberg testified that the most common dosage that he

        prescribed was “35 milligrams per meter squared twice daily . . . [f]or a total of 70

        milligrams per meter squared per day.” Tr., 360:7-12.

                 Moreover, Defendants misinterpret the label when arguing that the dosing

        range in the LONSURF® label is broader than claim 13.              D.I. 122 at 37.

        LONSURF®’s label states that “[t]he recommended dosage of LONSURF is 35



        12
          Defendants, however, presented no evidence at trial that there are any known off-
        label uses for LONSURF®, and Mr. Hofmann was unable to identify any such uses
        when questioned by the Court. Tr., 520:21-521:4.
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        mg/m2 up to a maximum of 80 mg per dose (based on the trifluridine component)

        orally twice daily.” JTX-0151.0002. The first number is mass per m2 or BSA, while

        the second number is only mass. In other words, the “80 mg per dose” is the actual

        amount of drug administered based on BSA. As shown in Section 2.1 of the label

        (Table 1), so long as a person’s BSA is below 2.3, the “recommended dosage”

        remains 35 mg/m2 twice daily or 70 mg/m2/day in 2 divided portions.




        JTX-0151.0003; Tr., 334:7-13 (Whitten). For the dosage amount in terms of BSA

        to fall outside the claimed 50-70 mg/m2/day range, a person’s BSA must either be

        below 1.07 or exceed 2.3. Thus, contrary to Defendants’ assertion, the recommended

        dosage amount in the LONSURF® label is not outside the claimed range.

                                        2.      The Five Days, Two Days Off Schedule Is
                                                Necessary to Practice Claim 13

                 Defendants also argue that “the Lonsurf® label requires a 16-day rest period

        after two weeks of dosing on the weekends off schedule” while “claim 13 does not

        recite anything about a 28-day schedule with a 16-day rest period.” D.I. 122 at 37.

        However, Defendants do not identify a single instance where claim 13 is being
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        practiced other than in accordance with the dosing regimen set forth in the

        LONSURF® label. Defendants’ characterization of the label is misleading as well.

        The label does not refer to a “16-day rest period.” Rather, it states that LONSURF®

        should be administered on “Days 1 through 5 and Days 8 through 12 of each 28-day

        cycle.” JTX-0151.0001. Thus, the label clearly requires that LONSURF® be

        administered for 5 days with a 2 day rest period during each week when treatment is

        given. These instructions are commensurate in scope with claim 13, which requires

        administration “for 5 days followed by 2 days off treatment in the week on a one-

        week dosing schedule,” i.e., during the weeks when treatment is given. JTX-

        0001.0009, 9:20-34. To administer LONSURF® 5 days on, 2 days off for two weeks

        out of a 28 day cycle according to the label, it is necessary to practice the 5 days on,

        2 days off recited in claim 13.

                                          3.    The Existence of Other Patents Does Not
                                                Discount the Objective Evidence

                 Defendants argue that the existence of other patents covering LONSURF®

        precludes a presumption of nexus “because one or more of the asserted patents cover

        at least some aspect of the Lonsurf® product.” D.I. 122 at 44. Defendants rely on

        Fox Factory, Inc. v. SRAM, LLC, for the proposition that to be entitled to the

        presumption of nexus the patentee must “demonstrate that the product is essentially

        the claimed invention.” 944 F.3d 1366, 1374 (Fed. Cir. 2019). However, as Dr. Rao

        testified, merely because other patents cover LONSURF® does not mean that claim
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        13 is not necessary for the commercial success of LONSURF®. Tr., 489:24-491:8.

        Rather, there may be multiple patents that cover a product, each of which contributes

        to commercial success. Id. Further, as Fox acknowledges, the patentee can still

        prove nexus by providing the evidence is “attributable to the claimed” invention,

        which Taiho shows below. Fox, 944 F.3d at 1378.

                 “A patent has been called a ‘blocking patent’ where practice of a later

        invention would infringe the earlier [‘blocking’] patent.” Acorda Therapeutics, Inc.

        v. Roxane Labs., Inc., 903 F.3d 1310, 1337 (Fed. Cir. 2018). But Defendants

        presented no competent analysis at trial as to whether the practice of the ’500

        patent’s claims would infringe the earlier patents—that is, whether the patent is a

        “blocking patent” at all. Indeed, the ’500 patent was reissued and delisted from the

        Orange Book. Tr., 474:15-19 (Rao), Tr., 513:9-23 (Hofmann). Further, the ’475

        patent expired in 2016—shortly after the launch of LONSURF®.

                 Moreover, a statutory safe harbor exists allowing others to research and

        develop new technologies to be ready for launch as soon as a patent expires. See 35

        U.S.C. § 271(e)(1); see also Janssen Pharms., Inc. v. Teva Pharms. USA, Inc., 571

        F. Supp. 3d 281, 324-25 (D.N.J. 2021) (noting that the safe harbor provision weighed

        against finding that other patents deterred innovation).




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                                   b.    The Evidence Shows that Claim 13 Led to the
                                         Benefits of LONSURF®

                 LONSURF® was approved based on a specific dosing schedule, dosing

        frequency, and dose, as tested in the RECOURSE trial. The same dosing schedule,

        dosing frequency and dose is reflected in the LONSURF® label and is covered by

        claim 13. Tr., 374:7-17 (Goldberg). In turn, the claimed dosing schedule, dosing

        frequency and dose of claim 13 is responsible for the recognized benefits of

        LONSURF®, including the benefits realized by patients (e.g., extending overall

        survival, quality of life and more tolerable side effects), particularly as compared to

        its competitors—most notably, Stivarga®. Tr., 323:19-324:1 (Whitten); Tr., 364:1-

        365:14, 374:7-17 (Goldberg); Tr., 464:6-12 (Rao); JTX-0131.0010-11; JTX-

        0139.0054. More specifically, those benefits are directly attributable to the manner

        in which LONSURF® was approved for administration by FDA, including the

        approved dosage and dosing regimen as reflected in the product label, which is

        directly covered by the claimed invention.

                             ii.   LONSURF® Satisfied a Long-Felt, But Unmet Need
                                   for a Stage IV Colorectal Cancer Therapy that Extends
                                   Life While Maintaining Quality of Life

                 To make a prima facie showing of long-felt but unsolved need, the patentee

        “must establish that (1) a POSA recognized a problem that existed for a long period

        of time without a solution, (2) the long-felt need had not been satisfied by another

        before the claimed invention, and (3) the invention in fact satisfied the long-felt
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        need.” Immunex Corp. v. Sandoz Inc., 395 F. Supp. 3d 366, 405 (D.N.J. 2019) aff’d,

        964 F.3d 1049 (Fed. Cir. 2020).

                 LONSURF® satisfied a long-felt unmet need in the treatment of advanced

        colorectal cancer, including the need for better treatment options that would allow

        patients to live longer and maintain quality of life.13 Tr., 355:18-22 (Goldberg),

        312:7-314:16 (Whitten). This need existed before the filing of the ’284 patent in

        January 2005.14 Tr., 360:13-24, 448:12-449:8 (Goldberg). Prior to LONSURF®,

        there was only one other drug approved to treat patients with Stage IV colorectal

        cancer that have undergone first and second lines of therapy, Stivarga®. Tr., 361:18-

        21 (Goldberg); Tr., 461:3-10 (Rao). Other approved therapies that may be used in

        third-line treatment, such as injectable drugs, are approved for different indications

        and to treat different, specific subsets of patients. Tr., 322:1-17 (Whitten). The fact

        that Lonsurf satisfied this need was recognized throughout the industry as well. Tr.,




        13
          The fact that LONSURF® was approved later is irrelevant. “[P]atentability may
        consider all of the characteristics possessed by the claimed invention, whenever
        those characteristics become manifest.” Sanofi-Aventis Deutschland GmbH v.
        Glenmark Pharms., Inc., USA, 748 F.3d 1354, 1360 (Fed. Cir. 2014).
        14
           That Mr. Whitten was unable to testify about the state of the art in 2005 is
        irrelevant. Mr. Whitten was not at Taiho at this time (Tr., 309:12-16 (Whitten)), and
        Defendants’ technical expert, Dr. Goldberg, provided testimony about this need (Tr.,
        360:13-24, 448:12-449:8 (Goldberg)).
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        365:15 – 366:22 (Goldberg); PTX-0530.0001, 5; PTX-0474.0001; PTX-0483.0001;

        PTX-0485.0001-2; PTX-0476.0001; PTX-0475.0014.

                 Through the dosing regimen of claim 13, LONSURF® provided a better

        option for such patients than what was previously approved and available. More

        specifically, LONSURF® was more tolerable—a primary consideration for late-

        stage cancer drugs—than Stivarga®. Tr., 323:19-324:1 (Whitten); 364:1-365:14

        (Goldberg); Tr., 463:3-464:2 (Rao); JTX-0131.0010-11; JTX-0139.0054. Thus,

        LONSURF® qualified for the FDA’s fast-track approval, which expedites the

        review of drugs to treat serious conditions and fill an unmet medical need. Tr.,

        315:1-23 (Whitten); PTX-0522.0001; PTX-1251.0001.

                 Defendants’ argument that LONSURF® does not provide any benefit over

        palliative care or investigational drugs is contradicted in the record.             The

        RECOURSE study demonstrated a 1.8 month median extension in life, i.e., a

        “clinically relevant prolongation of overall survival.” Tr., 317:5-19, 319:6-18

        (Whitten); JTX-0023.0006, 09.15 Patients on LONSURF® also showed improved




        15
          Although Dr. Ratain takes issue with the findings in the New England Journal of
        Medicine that report that Lonsurf was associated with a “significant improvement in
        overall survival,” arguing that this relates to statistical significance and not clinical
        significance, the authors also report that “TAS-102 was associated with a clinically
        relevant prolongation of overall survival in essentially all treatment subgroups.”
        JTX.0023.0009 (emphasis added).
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        quality of life as indicated by the hazard ratio and ECOG data, which measure risk

        of death and ability to function, respectively.     Tr., 319:6-18 (Whitten); JTX-

        0023.0005-08. Additionally, the number of patients that enter clinical trials is quite

        low (particularly when compared to the high number of patients that have been

        treated with LONSURF®), demonstrating that it is not a realistic option for most

        patients. Tr., 314:17-24, 327:18-328:1 (Whitten).

                             iii.   The Claimed Dosing Regimen Led to Industry Praise
                                    for LONSURF®
                 Evidence of industry praise of a claimed invention “weighs in favor of []

        nonobviousness” because “[i]ndustry participants, especially competitors, are not

        likely to praise an obvious advance over the known art.” Apple, 839 F.3d at 1053.

                 Here, the RECOURSE results that led to FDA’s approval of LONSURF®

        were published by the prestigious NEJM. Additionally, patient advocacy groups,

        which are neutral groups that support patients, have discussed LONSURF®

        favorably. Tr., 372:5-373:11 (Goldberg); Tr., 312:6-314:16 (Whitten); see, e.g.,

        Janssen, 571 F.Supp.3d at 317-19 (relying on trade publication articles and expert

        testimony in finding that industry praise weighed in favor of non-obviousness in

        ANDA case). LONSURF® also has emerged as a preferred treatment option for

        medical oncologists, due to its efficacy and tolerability.        Tr., 323:19-324:1

        (Whitten); Tr., 364:1-365:14, 374:7-17 (Goldberg); Tr., 464:6-12 (Rao); JTX-

        0131.0010-11; JTX-0139.0054.
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                             iv.   LONSURF® Has Been Commercially Successful

                 Commercial success provides strong evidence of non-obviousness where, as

        here, there is a nexus between the success and the claimed invention. See Alcon

        Research Ltd. v. Apotex, Inc., 687 F.3d 1362, 1371 (Fed. Cir. 2012); see also

        Pharmacyclics, 556 F. Supp. 3d at 400. The patented invention does not need to be

        “solely responsible for the commercial success in order for this factor to be given

        weight.” Cont’l Can Co. USA, Inc. v. Monsanto Co., 948 F.2d 1264, 1273 (Fed. Cir.

        1991).

                 LONSURF® has been a marketplace success. Net sales since launch have

        exceeded $1.6 billion. Tr., 324:25-325:11 (Whitten); Tr., 458:1-10 (Rao); PTX-

        1718.0002; PTX-1725.0002.        Taiho achieved this commercial success despite

        having no commercial presence in the United States before LONSURF® and, thus,

        no brand reputation. Tr., 327:1-17 (Whitten). By contrast, LONSURF’s main

        competitor is Stivarga®, marketed by Bayer, a household pharmaceutical name with

        an established reputation.    Tr., 327:1-17 (Whitten); Tr., 459:23-462:10 (Rao).

        Shortly after its launch, LONSURF® began to outperform its closest competitors,

        Stivarga® and Xeloda®—both of which had been on the market for far longer. Tr.,

        468:2-9 (Rao); Tr., 323:15-324:1 (Whitten); PTX-1722.0001; PTX-1727.0004.

        Finally, LONSURF®’s sales have continued to rise even though Taiho has

        significantly decreased the amount it spends on promotion of LONSURF®. Tr.,

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        326:6-25 (Whitten); see Bial-Portela & CA. S.A. v. Alkem Labs. Ltd., No. CV 18-

        304-CFCCJB, 2022 WL 4244989, at *14-15 (D. Del. Sept. 15, 2022) (finding that

        the fact that “revenue and profits rose . . . despite a drop in marketing spend”

        supported commercial success).

                 Defendants argue that the complexity of the LONSURF® dosing schedule

        was a barrier to its commercial success. See D.I. 122 at 45. But the evidence shows

        that the benefits of the claimed dosing regimen, including efficacy and tolerability,

        are important drivers of LONSURF®’s commercial success. Tr., 323:19-324:1

        (Whitten); Tr., 364:1-365:14, 374:7-17 (Goldberg); Tr., 464:6-12 (Rao); JTX-

        0131.0010-11; JTX-0139.0054. These patented benefits are emphasized in Taiho’s

        marketing materials for LONSURF® because they are seen as key differentiators

        for LONSURF®. Tr., 469:19-470:13 (Rao); JTX-0040.0008; JTX-0133.0002.

        While     JTX-0138.0001,    0013   and    JTX-0140.0014     may    have    identified

        LONSURF’s® dosing schedule as “complicated,” neither reported an actual

        negative impact on sales. Indeed, LONSURF® sales quickly overtook Stivarga sales

        (Tr., 468:2-9 (Rao); Tr., 322:21-324:1 (Whitten); PTX-1722.0001; PTX-1727.0004)

        despite the perception that the Stivarga schedule was “easier.” Further, market

        research determined that 70% of oncologists preferred LONSURF® over Stivarga

        because of its superior tolerability profile (Tr., 323:19-324:1 (Whitten); JTX-

        0131.0010), a feature made possible as a result of the FDA-approved dosing

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        schedule based on the Phase III RECOURSE study (Tr., 323:19-324:1 (Whitten);

        Tr., 364:1-365:14, 374:7-17 (Goldberg); Tr., 464:6-12 (Rao)).

                 The facts here are distinguishable from Merck & Co. v. Teva Pharms. USA,

        Inc., 395 F.3d 1364, 1376-77 (Fed. Cir. 2005). In Merck, the patent claimed weekly

        dosages of alendronate monosodium trihydrate—a compound sold under the brand

        name Fosamax. Prior to seeking FDA approval for the weekly dosage version of

        Fosamax, Merck had already received an “exclusive statutory right, in conjunction

        with FDA marketing approvals, to offer Fosamax at any dosage for the next five

        years.” Id. at 1377. The court then relied on this exclusivity in finding that Merck’s

        evidence of commercial success was “weak.” Id.

                 By contrast, when the dosing regimen of claim 13 was developed,

        LONSURF® had yet to be approved by FDA and no such exclusivity existed. As

        discussed above, prior to the launch of LONSURF®, Stivarga® and to a lesser extent

        Xeloda® were already being used to treat Stage IV colorectal cancer, and despite

        this competition, LONSURF® was able to achieve success. Tr., 323:7-12 (Whitten).

                 Finally, the Federal Circuit has found that commercial success can indicate

        non-obviousness in ANDA cases.          In Alcon, the fact that the drug was “‘an

        outstanding commercial success,’ achieving nearly 70% market share within two

        years of its launch, accounting for nearly $2 billion in sales within ten years, and

        garnering wide-spread praise within the industry” supported the district court’s

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        holding that the claims were not obvious. 687 F.3d at 1371; see also Leo Pharm.,

        726 F.3d at 1358; Teva Pharms. USA, Inc. v. Sandoz, Inc., 723 F.3d 1363, 1372-73

        (Fed. Cir. 2013), rev’d on other grounds, 574 U.S. 318 (2015) (commercial success

        of FDA-approved drug supported non-obviousness).

        IV.      DEFENDANTS FAILED TO PROVE BY CLEAR AND CONVINCING
                 EVIDENCE THAT CLAIM 13 OF THE ’284 PATENT IS NOT
                 ADEQUATELY DESCRIBED

                 Written description is assessed from the perspective of a POSA and the

        fundamental factual inquiry is whether the specification conveys with reasonable

        clarity to a POSA that, as of the filing date, the applicant was in possession of the

        claimed invention. 35 U.S.C. § 112; Takeda Pharm. Co. v. Zydus Pharms. USA,

        Inc., 743 F.3d 1359, 1368 (Fed. Cir. 2014); Ariad Pharms., Inc. v. Eli Lilly & Co.,

        598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc). Defendants failed to follow this

        fundamental inquiry and to provide any clear and convincing evidence that the

        specification does not reasonably convey to a POSA that the inventors were in

        possession of the invention of claim 13.

                 First, Defendants argue that Dr. Ratain “concluded there is no description in

        the specification of the actual administration of FTD and tipiracil in two divided

        doses on the weekends off schedule to patients with digestive cancer or colorectal

        cancer specifically.” D.I. 122 at 50. The issue is not whether there is an explicit

        description of the “actual administration,” but rather, whether in a POSA’s view, the

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        specification adequately describes the subject matter of claim 13. Dr. Ratain’s

        testimony does not address the perspective of a POSA. Tr., 102:6-8; 124:3-12;

        204:3-5. And the written description requirement does not demand either examples

        or an actual reduction to practice. E.g., Streck, Inc. v. Research & Diagnostic Sys.,

        Inc., 665 F.3d 1269, 1285-1286 (Fed. Cir. 2012).

                 Second, Defendants argue that the specification “does not describe or discuss

        administering TAS-102 in two divided doses per day to human patients with

        digestive cancer generally, much less specifically with colorectal cancer” and that

        Example 4 relates to breast cancer rather than colorectal cancer. D.I. 122 at 48

        (emphasis added).        This argument, however, ignores other portions of the

        specification and Dr. Goldberg and Mr. Mita’s trial testimony about a POSA’s

        knowledge and understanding of the specification and what it discloses.

                 Dr. Goldberg, who is qualified as a POSA (Tr., 339:18-342:4), and/or Mr.

        Mita, a co-inventor of the ’284 patent, testified that: (i) the results of the 9804 and

        9805 studies can be compared even though the cancers involved were different (Tr.,

        357:11-359:10, 379:2-5 (Goldberg)16; Tr., 274:6-11 (Mita)); (ii) breast and digestive




        16
          The fact that Taiho did “further Phase I studies” (Tr., 358:9-13) does not
        demonstrate that the inventors were not in possession of the claimed invention.
        Actual reduction to practice is not required. And, Dr. Goldberg explained this was

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        cancers are solid tumors, commonly spread to liver and lung, and commonly respond

        to cytotoxic agents, and there is a lot of data to show that oral fluoropyrimidines17

        are active in both breast and colorectal cancer, FTD is effective against both breast

        cancer and colorectal cancer, and the same evaluation criteria for solid tumors

        (RECIST criteria) were used (Tr., 376:8-378:6 (Goldberg); Tr., 278:22-279:4

        (Mita)); and (iii) Example 4 is relevant to showing “possession” of twice-daily

        divided dosing for colorectal cancer (Tr., 376:2-378:6 (Goldberg)), including

        because cross-study comparisons are done all the time in oncology (Tr., 354:9-16

        (Goldberg)). Defendants decided not to cross-examine Mr. Mita, so his testimony

        is completely unrebutted.

                 Third, Defendants and Dr. Ratain failed to recognize that each limitation of

        claim 13 is expressly described in the specification. The specification describes the

        use of the TAS-102 in humans for treatment of specific cancers, including colorectal

        cancer, and the daily dosage amounts and dosing schedule, including the twice-daily

        divided dosing as claimed in the ’284 patent. JTX-0001.0005-09, 2:61-67, 4:52-56,

        5:32-5, 7:51-9:2 (Examples 3 and 4). It not only recites a narrow range of possible




        likely done to confirm safety and dose tolerability given that because breast cancer
        patients tend to be more heavily pretreated than GI cancer patients. Tr., 358:9-22.
        17
             A fluoropyrimidine is a type of antimetabolite, including FTD.

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        total daily doses and a narrow number of daily divided doses, but it also expressly

        recites a particular preference for 50-70 mg/m2/day (JTX-0001.0006. 4:54-56) and

        2-3 daily divided doses (JTX-0001.0007, 5:32-35).           See also Tr., 375:19-22

        (Goldberg). The preferred range of daily divided doses directly corresponds to

        twice-daily divided dosing as claimed in claim 13.          Contrary to Defendants’

        argument, the specification repeatedly describes twice-daily divided dosing. JTX-

        0001.0001, 05-08, Abstract, Fig. 3, 2:49-52, 2:55-56, 2:66-67, 3:5-6, 3:33-36, 3:64-

        67, 4:52-53, 5:30-31, 5:33-35, 5:56-59, 8:43-9:2 (Example 4); JSUF, ¶40. It also

        describes aspects of TAS-102, the dosage amount, calculations for body surface

        area, dosage interval of 6 hours or more, and the different conditions that can be

        treated. JTX-0001.0006-07, 3:46-5:60. Thus, each element of claim 13 is expressly

        described. See Tas v. Beachy, 626 F. App’x 999, 1004-1005 (Fed. Cir. 2015).

        Further, although not required, the ʼ284 patent specification includes specific,

        clinical examples of the use of TAS-102 in both digestive cancer and breast cancer

        patients. JSUF, ¶¶41-42; JTX-0001.0008-09, 7:54-59, 8:45-49, 8:56-9:2; Tr., 263:6-

        10 (Mita).

                 For the foregoing reasons, Defendants failed to prove by clear and convincing

        evidence that in a POSA’s view the inventors were not in possession of the subject

        matter of claim 13.



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        V.       CONCLUSION

                 For the above reasons, Defendants have failed to meet their burden of proving

        by clear and convincing evidence that claim 13 of the ’284 patent is invalid for

        obviousness or lack of written description.




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        CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATION

                 The foregoing document complies with the type-volume limitations of the

        Court’s Standing Order Regarding Briefing in all Cases dated November 10, 2022

        and the Stipulation and [Proposed] Order Regarding Post-Trial Briefing Schedule

        (D.I. 158 in C.A. No. 19-2368). The text of the foregoing brief, including footnotes,

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